                   Case 4:23-cr-00096-RGE-WPK                        Document 112                     Filed 03/27/25                        Page 1 of 7
AO 245B (Rev. 09/19) Judgment in a Criminal Case
v1                      6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                        SOUTHERN DISTRICT OF IOWA
               81,7('67$7(62)$0(5,&$                                               JUDGMENT IN A CRIMINAL CASE
                                   v.
              MARAIN LARAYONDRA RANKINS                                               &DVH1XPEHU 4:23-cr-00096-001
                    a/k/a: Ryan Rankins
                                                                                      8601XPEHU 10870-511

                                                                                       Dennis E. McKelvie
                                                                                      'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        One of the Indictment filed on June 13, 2023.
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

The defendant is adjudicated guilty of these offenses:

Title & Section        ?           Nature of Offense                                                                          Offense Ended                           Count

 18 U.S.C. §§ 922(g)(1),            Prohibited Person in Possession of Firearm                                                   05/10/2023                            One

 922(g)(3), 924(a)(8)




     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7              RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V                                                   G LV     G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                            March 27, 2025
                                                                            'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                            Signature of Judge

                                                                            Rebecca Goodgame Ebinger, U.S. District Judge
                                                                            1DPHRI-XGJH7LWOHRI-XGJH


                                                                            March 27, 2025
                                                                            'DWH
                     Case 4:23-cr-00096-RGE-WPK                             Document 112                Filed 03/27/25             Page 2 of 7
AO 245B (Rev. 09/19)      Judgment in a Criminal Case
v1                        Sheet 2 — Imprisonment

                                                                                                                                       Judgment Page: 2 of 7
 DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
 CASE NUMBER: 4:23-cr-00096-001


                                                                       IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
     120 months as to Count One, to be served consecutively to Iowa District Court for Polk County Docket Numbers FECR348595,
     FECR367814, and AGCR370225.



        ✔
        G The court makes the following recommendations to the Bureau of Prisons:
     The defendant be placed at FMC Rochester to maximize resources for physical treatment; otherwise FMC Butner or FCI El Reno in that order. The Court further
     recommends the defendant be made eligible to participate in the 500-hour Residential Drug Abuse Treatment Program (RDAP) and any other substance abuse treatment
     programming.


        ✔ The defendant is remanded to the custody of the United States Marshal.
        G
        G The defendant is remanded to the custody of the United States Marshal for surrender to the ICE detainer.
        G The defendant shall surrender to the United States Marshal for this district:
             G at                                          G a.m.         G p.m.          on

             G as notified by the United States Marshal.

        G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             G before                     on

             G as notified by the United States Marshal.
             G as notified by the Probation or Pretrial Services Office.

                                                                              RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                                     to

 a                                                           , with a certified copy of this judgment.



                                                                                                                    UNITED STATES MARSHAL


                                                                                       By
                                                                                                               DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
v1                     Sheet 3 — Supervised Release

                                                                                                                Judgment Page: 3 of 7
DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
CASE NUMBER: 4:23-cr-00096-001
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 Three years as to Count One.




                                                      MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             G The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.    G You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
 5.    G✔You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
       as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (check if applicable)
 7.    G You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
v1                     Sheet 3A — Supervised Release

                                                                                                                     Judgment Page: 4 of 7
 DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
 CASE NUMBER: 4:23-cr-00096-001


                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.

 Defendant's Signature                                                                                    Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3D — Supervised Release
v1

                                                                                                                    Judgment Page: 5 of 7
DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
CASE NUMBER: 4:23-cr-00096-001

                                           SPECIAL CONDITIONS OF SUPERVISION
     You must participate in a program of testing and/or treatment for substance abuse, as directed by the Probation Officer, until such time
     as the defendant is released from the program by the Probation Office. At the direction of the probation office, you must receive a
     substance abuse evaluation and participate in inpatient and/or outpatient treatment, as recommended. Participation may also include
     compliance with a medication regimen. You will contribute to the costs of services rendered (co-payment) based on ability to pay or
     availability of third party payment. You must not use alcohol and/or other intoxicants during the course of supervision.

     You must participate in a cognitive behavioral treatment program, which may include journaling and other curriculum requirements, as
     directed by the U.S. Probation Officer.

     You shall not knowingly associate or communicate with any member of the Crips or C-Block criminal street gangs, or any other
     criminal street gang.

     You will submit to a search of your person, property, residence, adjacent structures, office, vehicle, papers, computers (as defined in 18
     U.S.C. § 1030(e)(1)), and other electronic communications or data storage devices or media, conducted by a U.S. Probation Officer.
     Failure to submit to a search may be grounds for revocation. You must warn any other residents or occupants that the premises and/or
     vehicle may be subject to searches pursuant to this condition. An officer may conduct a search pursuant to this condition only when
     reasonable suspicion exists that you have violated a condition of your release and/or that the area(s) or item(s) to be searched contain
     evidence of this violation or contain contraband. Any search must be conducted at a reasonable time and in a reasonable manner. This
     condition may be invoked with or without the assistance of law enforcement, including the U.S. Marshals Service.

     You must submit to a mental health evaluation. If treatment is recommended, you must participate in an approved treatment program
     and abide by all supplemental conditions of treatment. Participation may include inpatient/outpatient treatment and/or compliance with
     a medication regimen. You will contribute to the costs of services rendered (co-payment) based on ability to pay or availability of third
     party payment.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
v1                     Sheet 5 — Criminal Monetary Penalties

                                                                                                                      Judgment Page: 6 of 7
DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
CASE NUMBER: 4:23-cr-00096-001
                                                 CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 G Pursuant to 18 U.S.C. § 3573, upon the motion of the government, the Court hereby remits the defendant's Special Penalty
      Assessment; the fee is waived and no payment is required.
              Assessment            Restitution            Fine                        AVAA Assessment*               JVTA Assessment**
TOTALS $ 100.00                          $0.00                 $ 0.00               $ 0.00                        $ 0.00

G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.
G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                       Total Loss***             Restitution Ordered     Priority or Percentage




TOTALS                                                                               $0.00                    $0.00


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the             G fine   G restitution.
      G the interest requirement for the           G fine       G restitution is modified as follows:


*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
v1                     Sheet 6 — Schedule of Payments

                                                                                                                             Judgment Page: 7 of 7
DEFENDANT: MARAIN LARAYONDRA RANKINS a/k/a: Ryan Rankins
CASE NUMBER: 4:23-cr-00096-001

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ✔ Lump sum payment of $ 100.00
      G                                                          due immediately, balance due

            G not later than                                          , or
            ✔ in accordance
            G                            G C,           G D,     G      E, or     ✔ F below; or
                                                                                  G
B     G Payment to begin immediately (may be combined with                      G C,       G D, or      G F below); or
C     G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D     G Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F     ✔ Special instructions regarding the payment of criminal monetary penalties:
      G
            All criminal monetary payments are to be made to:
            Clerk’s Office, United States District Court, P.O. Box 9344, Des Moines, IA 50306-9344.
            While on supervised release, you shall cooperate with the United States Probation Office in developing a monthly payment plan,
            which shall be subject to the approval of the Court, consistent with a schedule of allowable expenses provided by the United
            States Probation Office.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G Joint and Several
      Case Number
      Defendant and Co-Defendant Names                                                        Joint and Several                Corresponding Payee,
      (including defendant number)                             Total Amount                        Amount                          if appropriate




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
✔ The defendant shall forfeit the defendant’s interest in the following property to the United States:
G
       a Smith and Wesson, model M&P Shield, nine-millimeter pistol (SN: RDS7970); and a CZ, model P-10, nine-millimeter pistol
       (SN: C813372); ammunition, magazines, and any firearm parts as outlined in the Preliminary Order of Forfeiture filed on
       December 20, 2024.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
